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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No: 18-CR-10391-RGS
                                             )
DEREK SHEEHAN,                               )
          Defendant.                         )
                                             )

JOINT MOTION TO RESCHEDULE STATUS CONFERENCE AND EXCLUDE TIME

       The United States of America, by and through the undersigned Assistant United States

Attorney, and the defendant, by and through his attorney, jointly request that the status

conference scheduled for April 18, 2019 be rescheduled to some other date convenient for the

Court and the parties, to allow further time for the government to complete its response to

discovery requests by the defendant. The parties also respectfully move this Court to exclude the

time period from April 18, 2019 through and including the rescheduled status conference date

from the speedy trial clock, pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), on the

ground that the ends of justice served by excluding this period outweigh the best interests of the

public and the Defendant in a speedy trial. The parties jointly agree that this period constitutes

“the reasonable time necessary for effective preparation, taking into account the exercise of due

diligence,” and that the ends of justice served by granting the requested continuance outweigh the

best interests of the public and the defendant in a speedy trial pursuant to the Speedy Trial Act,

18 U.S.C. § 3161(h)(7)(A).




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                                                             Respectfully submitted,

                                                             ANDREW E. LELLING
                                                             United States Attorney

       /s/ William Keefe                                By: /s/ Anne Paruti
       William Keefe                                        Anne Paruti
       Attorney for Derek Sheehan                           Assistant United States Attorney

Dated: April 18, 2019


                              CERTIFICATE OF SERVICE

        I, Anne Paruti, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants.


                                                     /s/ Anne Paruti
                                                     Assistant United States Attorney

Dated: April 18, 2019




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